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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                              :
   DEUTSCHE BANK NATIONAL TRUST               :
   COMPANY, solely in its capacity as Trustee :
   for the MORGAN STANLEY                     :
   STRUCTURED TRUST I 2007-1,                 :
                                              :             No. 14 Civ. 3020 (KBF)
                         Plaintiff,           :
                                              :             ORAL ARGUMENT
             - against -                      :             REQUESTED
                                              :
   MORGAN STANLEY MORTGAGE                    :
   CAPITAL HOLDINGS LLC, as Successor-        :
   by-Merger to MORGAN STANLEY                :
   MORTGAGE CAPITAL INC.,                     :
                                              :
                         Defendant.           :
                                              :
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    NOTICE OF MORGAN STANLEY MORTGAGE CAPITAL HOLDINGS LLC’S
            MOTION FOR JUDGMENT ON THE PLEADINGS AND
              RENEWED MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Its Motion for Judgment on the Pleadings and Renewed Motion for Summary Judgment, its

Statement of Undisputed Material Facts Pursuant to Local Rule 56.1, the annexed Declaration of

Brian S. Weinstein and the exhibits thereto, and all the pleadings and proceedings herein,

Defendant Morgan Stanley Mortgage Capital Holdings LLC (“Morgan Stanley”), by and through

its undersigned counsel, hereby moves this Court before the Honorable Katherine B. Forrest,

United States District Judge for the Southern District of New York, at the United States

Courthouse located at 500 Pearl Street, Courtroom 23B, New York, New York, 10007, for an

order, pursuant to Federal Rule of Civil Procedure 12(c), granting judgment on the pleadings and

dismissing this action for lack of subject matter jurisdiction, or in the alternative for an order,

pursuant to Federal Rule of Civil Procedure 56, granting summary judgment in favor of Morgan
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Stanley on its statute of limitations defense and dismissing Plaintiff’s Complaint. Defendant

respectfully requests oral argument on this motion.


    Dated:    New York, New York
              February 5, 2018                      DAVIS POLK & WARDWELL LLP


                                                    By:    /s/ Brian S. Weinstein
                                                          Brian S. Weinstein
                                                          Elisabeth Grippando
                                                          Alan J. Tabak
                                                          Matthew Cormack
                                                          Craig Cagney

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                                                    Attorneys for Defendant




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